           Case 1:24-cv-04946-BMC Document 2 Filed 07/17/24 Page 1 of 1 PageID #: 219

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                     Eastern District
                                                   __________         of of
                                                               District  New  York
                                                                            __________

                     Steve Madden, Ltd.                               )
                                                                      )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                         Civil Action No.    24-cv-4946
                                                                      )
                          GANNI A/S                                   )
                                                                      )
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) GANNI A/S

                                           BREMERHOLM 4, 1069 KØBENHAVN K

                                           CVR: DK-21664731



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Megan K. Bannigan
                                           Debevoise & Plimpton LLP
                                           66 Hudson Blvd.
                                           New York, NY 10001



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                              #3&//" #.")0/&:
                                                                              CLERK OF COURT

             7/17/2024
Date:
                                                                                         Signature of C
                                                                                                      Clerk or Deputy Clerk
